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The following constitutes the ruling of the court and has the force and effect therein described.




Signed September 24, 2021
______________________________________________________________________




                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

                                                     §
      In re:                                                            Chapter 11
                                                     §
                                                     §
      ACIS CAPITAL MANAGEMENT, L.P.,                             Case No. 18-30264-sgj-11
                                                     §
                                                     §
               Debtor.                                             (Jointly Administered)
                                                     §

                            ORDER REOPENING BANKRUPTCY CASE

               CAME ON FOR CONSIDERATION the Motion to Reopen Case (the “Motion”) [Docket

     No. 1218], filed by NexPoint Strategic Opportunities Fund (“NexPoint”) on May 20, 2021. No

     objection to the Motion was filed by any party. Instead, Acis Capital Management, L.P. (the

     “Debtor”), and Joshua N. Terry filed their Notice of Acis Capital Management, L.P.’s and Joshua

     N. Terry’s Non-Opposition to Motion of NexPoint Strategic Opportunities Fund to Reopen

     Bankruptcy Case [Docket No. 1221] on June 8, 2021, noting their lack of any objection. The Court

     conducted a hearing on the Motion on September 8, 2021. For the reasons stated on the record at

     the hearing, it is—




     ORDER REOPENING BANKRUPTCY CASE—Page 1
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             ORDERED that the Motion is hereby GRANTED, and the Debtor’s bankruptcy case is

    hereby reopened; and it is further—

             ORDERED that the Court hereby sua sponte shifts, from the Debtor to NexPoint, the

    responsibility for paying any fees due to the United States Trustee under 28 U.S.C. § 1930(a)(6)

    which accrue during the time the Debtor’s bankruptcy case remains reopened.

                                          ### End of Order ###




    ORDER REOPENING BANKRUPTCY CASE—Page 2
    4829-7269-3500v.1 019717.00002
       Case 18-30264-sgj11 Doc 1255 Filed 09/26/21                                      Entered 09/26/21 23:17:26                        Page 3 of 11
                                                              United States Bankruptcy Court
                                                                Northern District of Texas
In re:                                                                                                                 Case No. 18-30264-sgj
Acis Capital Management, L.P.                                                                                          Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0539-3                                                  User: mmathews                                                              Page 1 of 9
Date Rcvd: Sep 24, 2021                                               Form ID: pdf025                                                           Total Noticed: 25
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

#                Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                 the notice recipient was advised to update its address with the court immediately.

##               Addresses marked '##' were identified by the USPS National Change of Address system as undeliverable. Notices will no longer be delivered by
                 the USPS to these addresses; therefore, they have been bypassed. The debtor's attorney or pro se debtor was advised that the specified notice was
                 undeliverable.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Sep 26, 2021:
Recip ID                   Recipient Name and Address
db                    #+   Acis Capital Management, L.P., 300 Crescent Court, Suite 700, Dallas, TX 75201-7849
aty                    +   Ashlee N. Lin, Milbank, Tweed, Hadley & McCloy LLP, 2029 Century Park East 33rd Floor, Los Angeles, CA 90067-2901
aty                    +   Blair A. Adams, Quinn Emanuel Urquhart & Sullivan LLP, 51 Madison Ave., Floor 22, New York, NY 10010-1603
aty                    +   Craig A Bruens, Debevoise & Plimpton, 801 Pennsylvania Avenue N.W., Suite 500, Washington, DC 20004-1163
aty                    +   Eric R. Reimer, Milbank, Tweed, Hadley &McCloy LLP, 2029 Century Park East, 33rd Floor, Los Angeles, CA 90067-3019, US
                           90067-2901
aty                    +   Eric Winston, Quinn Emanuel Urquhart & Sullivan, LLP, 865 S. Figueroa Street, 10th Floor, Los Angeles, TX 90017-5003
aty                    +   Erica S. Weisgerber, Debevoise & Plimpton LLP, 919 Third Avenue, New York, NY 10022-3916
aty                    +   Ira D Kharasch, Pachulski Stang Ziehl & Jones LLPL, 10100 Santa Monica Boulevard, 13th Fl., Los Angeles, CA 90067-4114
aty                    +   James T. Bentley, Schulte Roth & Zabel LLP, 919 Third Avenue, New York, NY 10022-3921
aty                    +   Jeffrey N. Pomerantz, Pachulski Stang Ziehl & Jones LLP, 10100 Santa Monica Blvd., 13th Floor, Los Angeles, CA 90067-4114
aty                    +   Mark M. Maloney, King & Spalding LLP, 1180 Peachtree Steet, NE, Atlanta, GA 30309-7525
aty                    +   Miguel Cadavid, King & Spalding LLP, 1180 Peachtree Street, NE, Atlanta, GA 30309-7525
aty                        Paul M. Hoffmann, Stinson, Morrison, Hecker, LLP, 1201 Walnut Suite 2900, Kansas City, MO 64106-2150
aty                    +   Reed & Elmquist, P.C., 501 N. College Street, Waxahachie, TX 75165-3361
cr                     +   Dallas County, Linebarger Goggan Blair & Sampson, LLP, CO Sherrel K Knighton, 2777 N. Stemmons Frwy Ste 1000, Dallas, TX
                           75207-2328
cr                     +   Dallas County, Linbarger, Goggan, Blair & Sampson LLP, co Laurie Spindler, 2777 N Stemmons Frwy, No 1000, Dallas, TX 75207-2328
cr                     +   Highland Capital Management, L.P., c/o Foley Gardere, Holland ONeil, Jason Binford, 2021 McKinney Avenue, Ste. 1600, Dallas Dallas,
                           TX 75201-3340
cr                     +   Highland Employees, c/o Winston & Strawn LLP, 2121 N. Pearl Street, Suite 900, Dallas, TX 75201-2494
intp                   +   Investor, c/o Shackelford, Bowen, McKinley Norton, Attn: Frances A. Smith, 9201 N. Central Expressway, 4th Floor Dallas, TX
                           75231-6033
intp                   +   James Dondero, c/o D. Michael Lynn, Bonds Ellis Eppich Schafer Jones LLP, 420 Throckmorton Street, Suite 1000 Fort Worth, TX
                           76102-3727
cr                     +   Joshua Terry, 25 Highland Park Village, Suite 100-848, Dallas, TX 75205-2789
intp                   +   Terry Dondero, c/o Bond Ellis Eppich Schafer Jones, LLP, D. Michael Lynn, 420 Throckmorton St., Ste. 1000, Fort Worth, TX
                           76102-3727
cr                         Texas Comptroller of Public Accounts, John Stern, P.O. Box 12548, Austin, TX 78711-2548
cr                     #   The TASA Group, 1166 DeKalb Pike, Blue Bell, PA 19422-1853

TOTAL: 24

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
aty                    + Email/Text: dneier@winston.com
                                                                                        Sep 24 2021 20:52:00      David Neier, Winston & Strawn LLP, 200 Park
                                                                                                                  Avenue, New York, NY 10166-4002

TOTAL: 1


                                                       BYPASSED RECIPIENTS
       Case 18-30264-sgj11 Doc 1255 Filed 09/26/21                                  Entered 09/26/21 23:17:26                     Page 4 of 11
District/off: 0539-3                                               User: mmathews                                                         Page 2 of 9
Date Rcvd: Sep 24, 2021                                            Form ID: pdf025                                                      Total Noticed: 25
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID        Bypass Reason Name and Address
cr              ##+           ACIS CLO 2014-1 and 3-6, Ltds, c/o Winston & Strawn LLP, 2501 N. Harwood Street, 17th Floor, Dallas, TX 75201-1663

TOTAL: 0 Undeliverable, 0 Duplicate, 1 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Sep 26, 2021                                        Signature:           /s/Joseph Speetjens




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on September 24, 2021 at the address(es) listed
below:
Name                             Email Address
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Andrew Ball Zollinger
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                                 bill-countryman-0154@ecf.pacerpro.com;Docketingchicago@dlapiper.com

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                                 bill-countryman-0154@ecf.pacerpro.com;Docketingchicago@dlapiper.com

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Annmarie Antoniette Chiarello
      Case 18-30264-sgj11 Doc 1255 Filed 09/26/21                                 Entered 09/26/21 23:17:26                      Page 5 of 11
District/off: 0539-3                                             User: mmathews                                                           Page 3 of 9
Date Rcvd: Sep 24, 2021                                          Form ID: pdf025                                                        Total Noticed: 25
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       Case 18-30264-sgj11 Doc 1255 Filed 09/26/21                           Entered 09/26/21 23:17:26                  Page 6 of 11
District/off: 0539-3                                       User: mmathews                                                        Page 4 of 9
Date Rcvd: Sep 24, 2021                                    Form ID: pdf025                                                     Total Noticed: 25
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       Case 18-30264-sgj11 Doc 1255 Filed 09/26/21                          Entered 09/26/21 23:17:26                     Page 7 of 11
District/off: 0539-3                                       User: mmathews                                                         Page 5 of 9
Date Rcvd: Sep 24, 2021                                    Form ID: pdf025                                                      Total Noticed: 25
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Jeff P. Prostok
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                          jjones@forsheyprostok.com;tlevario@forsheyprostok.com;calendar@forsheyprostok.com;calendar_0573@ecf.courtdrive.com;jpr
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John Mark Stern
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John Martin Lynch
                          on behalf of Creditor Joshua N. Terry lynch@RoggeDunnGroup.com vanderburg@RoggeDunnGroup.com

John Martin Lynch
                          on behalf of Creditor Joshua Terry lynch@RoggeDunnGroup.com vanderburg@RoggeDunnGroup.com

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John Y. Bonds, III
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                          on behalf of Creditor Acis CLO 2014-3 LLC JBain@joneswalker.com
                          kvrana@joneswalker.com;joseph-bain-8368@ecf.pacerpro.com;msalinas@joneswalker.com

Joseph E. Bain
       Case 18-30264-sgj11 Doc 1255 Filed 09/26/21                             Entered 09/26/21 23:17:26                     Page 8 of 11
District/off: 0539-3                                          User: mmathews                                                         Page 6 of 9
Date Rcvd: Sep 24, 2021                                       Form ID: pdf025                                                      Total Noticed: 25
                             on behalf of Defendant Acis CLO 2014-4 Ltd. JBain@joneswalker.com
                             kvrana@joneswalker.com;joseph-bain-8368@ecf.pacerpro.com;msalinas@joneswalker.com

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Joseph E. Bain
                             on behalf of Creditor ACIS CLO 2014-1 and 3-6 Ltds JBain@joneswalker.com,
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                             kvrana@joneswalker.com;joseph-bain-8368@ecf.pacerpro.com;msalinas@joneswalker.com

Joseph E. Bain
                             on behalf of Defendant Acis CLO 2014-3 LLC JBain@joneswalker.com
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Joseph E. Bain
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